       Case 3:07-cr-00034-JCH             Document 272         Filed 04/03/09       Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                         :
     Plaintiff,                                  :
                                                 :       CRIMINAL ACTION NO.
v.                                               :       07-cr-034 (JCH)
                                                 :
IVALISE COTTO                                    :       APRIL 3, 2009
      Defendant.                                 :

                                                ORDER

        On October 14, 2008, defendant Ivalise Cotto pleaded guilty to Count One of the

Superseding Indictment in the above-captioned case. See Doc. No. 200. On

November 25, 2008, the court issued a calendar entry scheduling sentencing for the

afternoon of January 14, 2009. See Doc. No. 231.

        On January 13 2009, approximately 25 hours prior to the scheduled sentencing,

Ms. Cotto’s counsel, Attorney Justine Levine, filed a Motion requesting that the

sentencing be continued in order to allow both plaintiff and defense counsel additional

time to prepare. See Doc. No. 240. On January 13, 2008, the court granted Attorney

Levine’s Motion and rescheduled sentencing for March 12, 2009 at 10:00 a.m. See

Doc. Nos. 241, 242.

        On March 11, 2009, less than 18 hours before the scheduled sentencing,

Attorney Levine once again moved the court to continue sentencing. See Doc. No.

262. The grounds upon which Attorney Levine requested a continuance were nearly

identical to those in his previous Motion to Continue, namely, that both plaintiff and

defense counsel required additional time to prepare.1 See id.


        1
          Attorney Levine’s March 11, 2009 Motion did not m ention the fact that he was in California when
the Motion was filed, and, as he adm itted to cham bers’ staff by telephone, had no plans to return to
Connecticut for the sentencing because he was unaware of the sentencing date. Further, Attorney
        Case 3:07-cr-00034-JCH             Document 272           Filed 04/03/09        Page 2 of 2




        On March 12, 2009, the court granted Attorney Levine’s Motion once again, this

time ordering Attorney Levine to show cause why he was unable to make his Motion

until less than 20 hours before the scheduled sentencing. See Doc. No. 263. The court

specifically ordered that Attorney Levine respond, in writing, no later than March 26,

2009. See id.

        As of April 3, 2009, the court has received no response to its Order to Show

Cause. Consequently, Attorney Levine is hereby sanctioned $200.00 for failure to obey

an Order of the court. See United States v. Seltzer, 227 F.3d 36, 42 (2d Cir. 2000)

(noting that district courts have inherent power to sanction misconduct by an attorney

that involves that attorney's violation of a court order). The sanction, payable to the

Clerk of the Court, must be received by the Clerk’s Office no later than April 8, 2009 or

further sanctions shall be imposed. The Clerk is directed to deposit the monies in the

pro bono counsel reimbursement fund.

SO ORDERED.

        Dated at Bridgeport, Connecticut this 3rd day of April, 2009.




                                                    /s/ Janet C. Hall
                                                   Janet C. Hall
                                                   United States District Judge




Levine’s Motion also om its any m ention of his failure to com m unicate with his client, who was not only
aware of the March 12 sentencing date but had m ade plans to be present in court on that day.
